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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                                                PLAINTIFF

VS.                                  CASE NO. 22-50035-001

GENEVA ANN BENSLEY                                                                    DEFENDANT


              MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3), Local Rule 72.1 ¶ XII, and

General Order No. 40, this matter was referred to the undersigned for the purposes of conducting

a plea hearing pursuant to Rule 11 of the Federal Rules of Criminal Procedure. Such a hearing was

conducted on August 10, 2022, and, pursuant to a written plea agreement, the Defendant, Geneva

Ann Bensley, entered a plea of guilty to Count Three of the Indictment, charging her with possession

of methamphetamine with intent to distribute in violation of 21 U.S.C. §§ 841(a)(1) and

841(b)(1)(C).

         After conducting the hearing in the form and manner prescribed by Rule 11, the undersigned

finds:

         1.     The Defendant, after consultation with her counsel, has knowingly and voluntarily

consented, both in writing in the plea agreement and on the record at the hearing, to the entry of her

guilty plea before the undersigned, with Defendant’s plea of guilt subject to final approval by United

States District Judge Timothy L. Brooks.

         2.     The Defendant and the Government have entered into a written plea agreement which

has been disclosed in open court pursuant to Rule 11(c)(2), and the undersigned has directed that


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the plea agreement be filed. (ECF No. 28).

        3.      The Defendant is fully competent and capable of entering an informed plea; the

Defendant is aware of the nature of the charges, the applicable maximum penalties, and the

consequences of the plea; the Defendant is fully satisfied with her counsel and has had sufficient

time to consult with counsel; and the plea of guilty is a knowing and voluntary plea supported by

an independent basis in fact containing each of the essential elements of the offenses.

        4.      The Defendant understands her constitutional and statutory rights and wishes to

waive these rights.

        5.      The parties were informed, both in writing in the plea agreement and on the record

at the hearing, of their right to file written objections within fourteen (14) days after receipt of this

Report and Recommendation. To expedite acceptance of the guilty plea, the parties waived, both

on the record and in writing in the plea agreement, their right to file objections.

        Based on the foregoing, the undersigned recommends that the guilty plea be accepted. The

written plea agreement will be subject to approval by the District Judge at sentencing.

        DATED this 10th day of August 2022.



                                                __________________________________
                                                CHRISTY COMSTOCK
                                                UNITED STATES MAGISTRATE JUDGE




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